            Case 3:24-cv-00103-ART-CLB       Document 2        Filed 03/01/24   Page 1 of 2




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA


 DREW RIBAR,
                  Plaintiff(s),                           3:24−cv−00103−ART−CLB

 vs.                                                      MINUTES OF THE COURT

 STATE OF NEVADA DEPARTMENT OF
CORRECTIONS, et al.,                                          March 1, 2024
                 Defendant(s).


 PRESENT:
 The Honorable     Anne R. Traum      , U.S. District Judge
 Deputy Clerk: Daniel Morgan                    Recorder/Reporter: None Appearing
 Counsel for Plaintiff(s): None Appearing           Counsel for Defendant(s): None Appearing
 MINUTE ORDER IN CHAMBERS:
        The removing defendant must, no later than 15 days from the date of this order, file and
 serve a signed statement regarding removal in this case that sets forth the following information:
       1.    The date on which you were served with a copy of the complaint.
       2.    The date on which you were served with a copy of the summons.
       3.    In removals based on diversity jurisdiction, the names of any served defendants who
             are citizens of Nevada, the citizenship of the other parties, and a summary of
             defendant's evidence of the amount in controversy.
       4.    If your notice of removal was filed more than 30 days after you first received a copy
             of the summons and complaint, the reason removal has taken place at this time and the
             date you first received a paper identifying the basis for removal.
       5.    In actions removed on the basis of the court's jurisdiction in which the state court
             action was commenced more than one year before the date of removal, the reasons

Minute Order Concerning Removal − 1
            Case 3:24-cv-00103-ART-CLB        Document 2       Filed 03/01/24    Page 2 of 2

             this action should not summarily be remanded to the state court.
       6.    The name of any defendant known to have been served before you filed the notice of
             removal who did not formally join in the notice of removal and the reasons they did
             not.
       All defendants who joined in the notice of removal may file the statement jointly.
        Within 30 days from the date of this order, the parties must file a joint status report that sets
 forth the status of this action, including a statement of action required to be taken by this court.
        All pending motions and other requests directed to the state court are automatically
 denied without prejudice upon removal, but may be refiled in this court. Motions refiled in
 this court must include citation to all relevant federal law and must be revised as necessary
 to comply with this court's rules. See LR 81−1.
        The removing defendant must serve a copy of this order on all other parties to the action
 within 15 days from the date of this order. A party who learns that the statement regarding
 removal filed under this order contains incorrect information must promptly file a written notice
 with the court.
       IT IS SO ORDERED.




Minute Order Concerning Removal − 2
